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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs.
                                                             Criminal No. 24-cr-10121-ADB
JAMES ADAMS,

                         Defendant.



      [PROPOSED] PROTECTIVE ORDER REGARDING DISCOVERY CONTAINING
                    COOPERATING WITNESS INFORMATION

         The Court has read and considered the assented-to motion by the government for a

Protective Order Regarding Discovery Containing Cooperating Witness Information. FOR

GOOD CAUSE SHOWN the Court hereby FINDS AND ORDERS as follows:

      1. The government’s discovery in this case relates to the defendant’s charges by

         superseding indictment, in United States v. James Adams, 24-cr-10121-ADB.

      2. Certain parts of the discovery in this case relate to a cooperating witness involved in the

         investigation of this case, and therefore the discovery contains identifying information.

         The dissemination or distribution of these materials could expose him/her to potential

         safety risks.

      3. The discovery related to the cooperating witness that the government will provide to

         defense counsel in the above-captioned case will be subject to this Protective Order, as

         follows:

             a. For purposes of the Protective Order, the term “confidential materials” includes

                 any information relating to a cooperating witness’s prior history of cooperation

                 with law enforcement, any cooperating witness’s recorded statements, whether
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    written or oral, prior criminal history, or any other information that could be used

    to identify the cooperating witness, such as a name, address, date of birth, Social

    Security number, driver’s license number, telephone number, account number, or

    personal identification number. The term “Protected Information” refers to any

    document or information containing confidential materials that the government

    produces to the defense pursuant to the Protective Order.


 b. For purposes of the Protective Order, the term “defense team” refers to

    (1) defendant’s counsel of record, (2) other attorneys at defense counsel’s law

    firm or office who may be consulted regarding case strategy in the above-

    captioned matter, (3) defense investigators who are assisting defense counsel with

    this case, (4) retained experts or potential experts, and (5) paralegals, legal

    assistants, and other support staff to defendant’s counsel of record providing

    assistance on this case -- all of whom have been advised of their obligations under

    the Protective Order and have affirmed to the defendant’s counsel of record that

    they agree to be bound by the terms of the Protective Order. The term “defense

    team” does not include the defendant, the defendant’s family members, or any

    other associates of the defendant.


 c. Defendant’s counsel of record shall agree to advise all members of the defense

    team of their obligations under the Protective Order and ensure their agreement to

    follow the Protective Order, prior to providing members of the defense team with

    access to any materials subject to the Protective Order.




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 d. The government is authorized to provide the defendant’s counsel of record with

    Protected Information marked with the following legend: “CONTENTS

    SUBJECT TO PROTECTIVE ORDER.” If the defendant objects to any such

    designation, he may do so by application to the Court upon duly noticed motion,

    after first attempting in good faith to resolve his objection(s) with the government.


 e. The defendant may review Protected Information in this case only in the presence

    of a member of the defense team. Counsel of record shall ensure that the

    defendant does not maintain or keep, and is never left alone with any Protected

    Information. The defendant may not write down or memorialize any confidential

    materials contained in the Protected Information. At the conclusion of any

    meeting with the defendant, the defense team shall take with them all Protected

    Information. At no time, under no circumstance, will any Protected Information

    be left in the possession, custody, or control of the defendant, whether he is

    incarcerated or not.


 f. The defense team shall not permit anyone other than the defense team to have

    possession of Protected Information, including the defendant.


 g. The defense team may review Protected Information with a witness or potential

    witness in this case, including the defendant, subject to the requirement above that

    a member of the defense team must be present if Protected Information is being

    shown to the defendant. Before being shown any portion of Protected

    Information, any witness or potential witness must be informed of, and agree in

    writing to be bound by, the requirements of the Protective Order. No witness or


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    potential witness may retain Protected Information, or any copy thereof, after his

    or her review of those materials with the defense team is complete.


 h. The defense team shall maintain Protected Information safely and securely, and

    shall exercise reasonable care in ensuring the confidentiality of those materials by

    (1) not permitting anyone other than defense team members and defendant as

    restricted above to see Protected Information, (2) not divulging to anyone the

    contents of Protected Information, and (3) not permitting Protected Information to

    be outside the defense team’s offices, homes, vehicles, or personal presence.


 i. To the extent that notes are made that memorialize, in whole or in part, the

    confidential materials in any Protected Information, or to the extent that copies

    are made for authorized use by members of the defense team, such notes, copies,

    or reproductions become Protected Information subject to the Protective Order

    and must be handled in accordance with the terms of the Protective Order.


 j. The defense team shall use Protected Information and materials otherwise

    identified as containing confidential materials only for the litigation of this matter

    and for no other purpose. Litigation of this matter includes any appeals filed by

    the defendant and any motions filed by the defendant pursuant to 28 U.S.C. §

    2255. In the event that a party needs to file Protected Information or materials

    otherwise identified as containing confidential materials with the Court or divulge

    the contents of such materials in court filings, the filing should be made under

    seal, unless relief from the restrictions imposed in the protective order are first

    obtained from the Court. If the Court rejects the request to file such information


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    under seal, the party seeking to file such information shall provide advance

    written notice to the other parties to afford such parties an opportunity to object or

    otherwise respond to such intention. If the other parties do not object to the

    proposed filing, the party seeking to file such information shall redact the

    confidential material and make all reasonable attempts to limit the disclosure of

    confidential materials.


 k. Upon the final disposition of this case, any Protected Information and materials

    otherwise identified as containing confidential materials shall not be used, in any

    way, in any other matter, absent a court order. All materials designated subject to

    the Protective Order maintained in the defense team’s files shall remain subject to

    the Protective Order unless and until such order is modified by court order.

    Within thirty days of the conclusion of appellate and post-conviction proceedings,

    the defense team shall return Protected Information and materials otherwise

    identified as containing confidential materials to the government or certify that

    such materials have been destroyed.


 l. In the event that there is a substitution of counsel prior to when such documents

    must be returned, new defense counsel must join this Protective Order before any

    Protected Information or materials otherwise identified as containing confidential

    materials may be transferred from the undersigned defense counsel to the new

    defense counsel, who then will become the defense team’s custodian of materials

    designated subject to the Protective Order and who shall then become responsible

    for returning to the government or certifying the destruction of all Protected



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            Information and materials otherwise identified as containing confidential

            materials upon the conclusion of appellate and post-conviction proceedings.


         m. When providing protected discovery materials to third parties, defense counsel or

            his or her agent must inform the person that the materials are provided subject to

            the terms of this Protective Order and that the person must comply with the terms

            of this Protective Order, and the person to whom such protected discovery

            materials are provided must sign an acknowledgement to be bound by the terms

            of the Protective Order.


         n. Notwithstanding anything else in the Protective Order to the contrary, documents

            produced by the government in discovery will not be subject to this Protective

            Order unless they are marked by the government with the legend “CONTENTS

            SUBJECT TO PROTECTIVE ORDER.”




SO ORDERED.


___________________________               _______________________________________
DATED                                     HONORABLE M. PAGE KELLEY
                                          UNITED STATES MAGISTRATE JUDGE




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